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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

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In re                                                       Chapter 11

        D.G.W. Holding Corp.                                Case no. 18-10849

                                    Debtor.
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                    ORDER SCHEDULING INITIAL CASE CONFERENCE


                   D.G.W. Holding Corp. (the "Debtor") having filed a petition for reorganization

 under chapter 11 of the Bankruptcy Code on March 28, 2018, and the Court having

 determined that a case management conference will aid in the efficient conduct of the case, it

 is

                   ORDERED, pursuant to 11 U.S.C. § 105(d), that an initial case management

 conference will be conducted by the undersigned Bankruptcy Judge in Room 523, United

 States Bankruptcy Court, Alexander Hamilton Custom House, One Bowling Green, New

 York, NY 10004 on May 7, 2018, at 11:00 a.m., or as soon thereafter as counsel may be

 heard, to consider the efficient administration of the case, which may include, inter alia, such

 topics as retention of professionals, creation of a committee to review budget and fee requests,

 use of alternative dispute resolution, timetables, and scheduling of additional case management

 conferences; and it is further
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                 ORDERED, that the Debtor shall give notice by mail of this order at least

 seven days prior to the scheduled conference to each committee appointed to serve in the case

 pursuant to 11 U.S.C. § 1102 (or, if no committee has been appointed, to the holders of the 10

 largest unsecured claims), the holders of the five (5) largest secured claims, any post-petition

 lender to the Debtor, and the United States Trustee, and shall promptly file proof of service of

 such notice with the Clerk of the Court.

Dated: New York, New York
       April 6, 2018

                                              _________/s/Martin Glenn______________
                                              UNITED STATES BANKRUPTCY JUDGE




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